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IN THE CIRCUIT COURT lN AND FOR THE THIRTEENTH JUDICIAL CIRCUIT IN AND
FOR HILLSBOROUGH COUNTY, FLORIDA
GENERAL CIVIL DIVISION
VICTORIA WlLLIAMS-MIRTH

Piaintiff,
v. Case No.:

MIDLAND CREDIT MANAGEMENT, lNC

Defendant.
/

COMPLAINT

Plaintiff Victoria Wiliiams-Mirth sues Defendant Midland Credit Managernent, Inc.
(“MCM”), and alleges the following:

l. Piaintiff brings this action pursuant to Fla. Stat. § 559.55 et seq., the Florida
Consurner Collection Practices (“FCCPA), to 47 U.S.C. §227' er seq,, the Fair Debt Coliection
Practices Act (“FDCPA”), the Telephone Consnrner Protection Act (“TCPA”), and seeks more
than $15,000 in damages

2. Piaintiff is a resident of Miami~Dade County. Plaintiff is a “oonsumer” as that
term is defined by 15 U.S.C. 1692a(3) and Fla. Stat. § 559.55(2), and is a “person” as provided
by 47 U.S.C. § 227(b)(1) and under Fla. Stat. § 559.72.

3. Defendant MCM is a foreign limited liability company, together with its
collecting agents (“Defendant” or “MCM”), doing business in the State of Florida, is a “debt
coilector” as that term is defined by 15. U.S.C. § 1692a(6), a creditor as that term is defined by
Fla. Stat. § 559.55(3), and is a “person” as provided by 47 U.S.C. § 227(b)(i) and under Fla.

Stat. § 559.72. MCM has agents or representatives located in Hillsborough County.

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4. All conduct of Defendant alleged herein by PlaintifiC was authorized, approved
and/or ratified by one or more officers, directors, or managers of Defendant, and/or knew in
advance that the Defendant was likely to conduct itself and allowed it to so act With conscious
disregard of the rights and safety of others The conduct alleged herein was despicable,
fraudulent, oppressive and done knowingly with intent, with malice, and without cause.

5. The Def`endant’s communications set forth below were made only to exhaust the
unpaying resisting Plaintiff"s will in an attempt to break Plaintiff and have Plaintiff pay amounts
owed long after the Plaintiff was given all necessary information and persuasion and negotiation
failed, as demonstrated by Plaintiff expressly communicating to the Defendant to stop calling

Pla`lntiff.

6. The Defendant’s communications set forth below are wholly without excuse.
7. At all times mentioned herein, the agent(s) or employee(s) of Defendant acted

within the course and scope of such agency or employment, and acted With the consent,
permission and authorization of Defendant. Each such entity acted as a co~actor in an enteiprise

to unlawfully attempt to collect debts from Plaintiff.

FAC'I`UAL ALLEGATIONS
8. Defendant has asserted via Collection Calls that Plaintiff owes it debts (the
“Alleged Debt”).
9. Defendant made multiple Coilection Calls, on multiple days, in multiple weeks,

over multiple months to Plaintiff attempting to collect the Alleged Debt.
10. Defendant made Collection Calls to Plaintiff’s cell phone after Plaintiff told

Defendant that Plaintiff could not pay the Alleged Debt.

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ll. Defendant made Collection Calls to Plaintiff’s cell phone after Plaintiff told
Defendant to stop calling Plaintiff’s cell phone.

12. Defendant made Collection Calls between 1 and 2 times a day, 3-4 days a week.

13. Defendant made Collection Calls to Plaintiff’s cell phone while she was at work
even after Plaintiff told Defendant she could not take personal calls on her cell phone while at
l work.
COUN’I` I

VIOLATION OF THE FLORIDA CONSUMER COLLECTIONS PRACTICES ACT,
FLA. STAT. § 559.55 et seg. AS TO DEFENDANT l\/ICM

14. This is an action against Defendant for violations of Fla, Stat. § 559.55 er seq.

15. Plaintiff realleges and incorporates paragraphs l through 13, as if fully set forth
herein.

16. Defendant is engaged in the business of collecting consumer debts and is,
therefore, subject to Fla. Stat. §559.55 er seq.

17. The Alleged Debt is “debt” as defined by Fla. Stat. § 559.55(1).

18. Defendant communicated certain information to Plaintiff, as set forth in the above
Faotual Allegation paragraphs, which constitutes “comrnunication,” as defined by Fla. Stat. §
559.55(5).

19. Fla. Stat. § 559.72(7) provides,- in pertinent part:

In collecting consumer debts, no person shall:
(7) Willfully communicate with the debtor or any member of her or his family
with such frequency as can reasonably be expected to harass the debtor or her or his

family, or willfully engage in other conduct which can reasonably be expected to abuse
or harass the debtor or any member of her or his family

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20. Defendant violated Fla. Stat. § 559.72(7) when Defendant (l) made multiple
Collection Calis, on multiple days, in multiple weeks, over multiple months to Plaintiff
attempting to collect the Alleged Debt; (2) made Collection Calls to Plaintiff’ s cell phone after
Plaintiff told Defendant that Plaintiff could not pay the Alleged Debt; and (3) made Collection
Calls to Plaintiff’s cell phone after Plaintiff told Defendant to stop calling; all of which is a
willful communication with the Plaintiff with such frequency that Defendant could reasonably
expect such communication to harass Plaintiff, or which is a willful engagement by Defendant in
other conducting, including violation of the TCPA, which could reasonably expected to abuse or
harass Plaintiff.

21. Fla. Stat. § 559.72(9) provides in pertinent part:

ln collecting consumer debts, no person shall:

(9) ...assert the existence of some other legal right when such person knows that
the right does not exist

22. Defendant violated Fla. Stat. § 559.72(9), second half, when Defendant (l) made
multiple Colleetion Calls, on multiple days, in multiple weeks, over multiple months, to Plaintiff
attempting to collect the Alleged Debt (2) made Collection Calls to Plaintiff’s cell phone after
Plaintiff told Defendant that Plaintiff could not pay the Alleged Debt; and (3) made Collection 7
Calls to Plaintiff’s cell phone after Plaintiff told Defendant to stop calling; all of which is an
assertion of the legal right to attempt to collect the Alleged Debt, including by violations of the
TCPA and by unfair and deceptive practices, which are rights Defendant knows do not exist, in
violation of the FCCPA, including Fla. Sta. § 559.72(9), second half.

23. As a result of the above violations of the FCCPA, Plaintiff has been damages and
Defendant is liable to Plaintiff for actual damages, statutory damages, and reasonable attorney’s

fees and costs pursuant to the FCCPA, Fla. Stat. § 559.72(2).

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24. Based upon the willful, intentional, knowing malicious, repetitive and continuous
conduct of the Defendant as described herein, Plaintiff intends to move for leave to amend this
Claim to assert a claim for punitive damages in accordance with Fla. Stat. §§ 559.77 and 768.72.

25. All conditions precedent to this action have occurred, have been satisfied or have
been waived

WHEREFORE, Plaintiff respectfully requests this Court to enter judgment against the

Defendant finding that the Defendant violated the FCCPA, awarding Plaintiff actual

damages, statutory damages, attorneys’ fees and costs pursuant to Fla. Stat. § 559.77(2), and

awarding Plaintiff any and all such further relief as is deemed necessary or appropriate
_C._QIM

VIOL_ATION OF THE FAIR DEBT COLLECTION PRACTICES ACT. 15 U.S.C. § 1692
et seg. AS TO DEFENDANT MCM

26. This is an action against Defendant for violations of 15 U.S. 1692 et seq.

27. Plaintiff realleges and incorporates paragraphs l through 12, as if fully set forth
herein.

28. Defendant is a “debt collector” and uses instrumentalities of interstate commerce
and the mail in a business which the principal purpose is the collection of debts, and is, therefore,
subject to 18 U.S.C. §1692 et seq.

29. The Alleged Debt is “debt” as defined by 18 U.S.C. § l692(b)(5).

30. 18 U.S.C. §1692e provides, in pertinent part:

A debt collector may not engage in any conduct the natural consequence of which is to
harass, oppress, or abuse any person in connection with the collection of a debt. Without limiting
the general application of the foregoing, the following conduct is a violation of this section. .. (5)

, Causing a telephone to ring or engaging any person in telephone conversation repeatedly or
continuously with intent to annoy, abuse, or harass any person at the called number.

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3'1. Defendant violated 18 U.S.C. §1692e when Defendant (l) made multiple
Collection Calls, on multiple days, in multiple weeks, over multiple months to Plaintiff
attempting to collect the Alleged Debt; (2) made Collection Calls to Plaintiffs cell phone after
Plaintiff told Defendant that Plaintiff could not pay the Alleged Debt; and (3) made Collection
fjalls to Plaintiff’s cell phone after Plaintiff told Defendant to stop calling; all of which is
conduct the natural consequence of which is to harass, oppress, or abuse any person in
connection with the collection of debt and causing a telephone to ring or engaging any person in
telephone conversation repeatedly or continuously with intent to annoy, abuse or harass

32. As a result of the above violations of the FDCPA, Plaintiff has been damaged and
Defendant is liable to Plaintiff for actual damages, statutory damages, and reasonable attorney’s
fees and costs pursuant to the FDCPA, 15 U.S.C. § 1692l(a).

33. All conditions precedent to this action have occurred, have been satisfied or have
been waived.

WI-IEREFORE, Plaintiff respectfully requests this Court to enter judgment against the

Defendant finding that the Defendant violated the FDCPA, awarding Plaintiff actual

damages, statutory damages, attorneys’ fees and costs pursuant to 15 U.S.C. § 16921, and

awarding Plaintiff any and all such further relief as is deemed necessary or appropriate
§_QM

VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT,
47 U.S.C. § 2_27 et sea. AS TO DEFENDANT l\/ICM

34. This is an action against Defendant for violations of 47 U.S.C. § 227 et seq.
35. Plaintiff re-alleges and reincorporates paragraphs l through 12, as if fully set forth

herein.

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36. Defendant, in the course of its business, uses an automatic telephone dialing
system as defined by 47 U.S.C. § 227(a)(l)(A) to communicate with Plaintiff.

37. Section 47 U.S.C. § 227(b)(l)(A)(iii) provides in pertinent part:

It shall be unlawful for any person within the United States w

(A) to make any call using an automatic telephone system or an artificial or
prerecorded voice - `

(iii) to any telephone number assigned to a paging service, cellular telephone service,
specialized mobile radio service, or other radio common carrier service, or any service for which
the called party is charged for the call;

38. Defendant violated 47 U.S.C § 227(b)(1)(A)(iii) when Defendant (l) made
multiple Collection Calls on multiple days, in multiple weeks, over multiple months to Plaintiff
attempting to collect the Alleged Debt; (2) made Collection Calls to Plaintiff’s cell phone after
Plaintiff told Defendant that Plaintiff could not pay the Alleged Debt; and (3) made Collection
Calls to Plaintiff" s cell phone after Plaintiff told Defendant to stop calling Plaintiff’s cell phone;
which is Defendant’s use of an automatic telephone dialing system to make multiple Collection
Calls to Plaintiff on Plaintiff"s cell phone after Plaintiff told Defendant that Defendant did not
have permission to call Plaintiff.

39. Defendant willfully, knowingly, and intentionally made multiple Collection Calls
to Plaintiff’s cell phone utilizing an automatic telephone dialing system after Plaintiff told
Defendant that Defendant did not have permission to call Plaintiff.

40. All conditions precedent to this action have occurred, have been satisfied or have
been waived

41. As a result of the above violation of the TCPA, Defendant is liable to Plaintiff for
actual damages, or the amount of $500.00 as damages for each violation, whichever is greater,

pursuant to the TCPA, 47 U.S.C. § 227(b)(3)(B).

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42. Based upon the willful, knowing, and intentional conduct of theDefendant as
described herein, Plaintiff is also entitled to an increase in the amount of the award to treble the
damages amount available under 47 U.S.C. § 227(b)(3)(B), in accordance with 47 U.S.C. §
227(b)(3).

WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment against the
Defendant: (l) finding Defendant violated the TCPA; (2) awarding Plaintiff actual damages
or the amount of $500.00 in damages for each violation, whichever is greater; (3) finding
Defendant willfully, knowingly and intentionally violated 47 U,S.C. § 227 er seq. and
increasing the damages award to treble the amount of damages otherwise to be entered as a
judgment; and (4) awarding Plaintiff any and all such further relief as is deemed necessary

and appropriate

,|URY 'I`RIAL DEMANDED

Respectfully submitted,

/s/ Ste,z_)hen J. Bagge
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